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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                   -v.-                             18 Cr. 117 (KPF)

OKECHUKWU PETER EZIKA,                                   ORDER

                          Defendant.

KATHERINE POLK FAILLA, District Judge:

      The oral argument scheduled for January 28, 2021, at 3:00 p.m. is

hereby ADJOURNED to 9:00 a.m. on the same day. The date and time of the

conference will be confirmed the week before the oral argument is to occur, and

information for accessing the conference will provided separately.

      SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                             KATHERINE POLK FAILLA
                                            United States District Judge
